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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           SEP 28 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                        Nos. 21-50048
                                                     21-50084
                 Plaintiff-Appellee,
                                                 D.C. Nos. 2:19-cr-00642-VAP-1
  v.                                                       2:20-cr-00155-VAP-1
                                                 Central District of California,
IMAAD SHAH ZUBERI,                               Los Angeles

                                                 ORDER
                 Defendant-Appellant.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

       Appellant’s unopposed motions (Docket Entry Nos. 54 and 55 in Appeal No.

21-50048) for an extension of time to file a divided opening brief in these

consolidated appeals is granted.

       The divided opening brief is due January 3, 2023. Appellant may submit

one brief to be filed publicly and a second brief to be filed under seal with a notice

of sealing.

       The consolidated answering brief is due February 2, 2023. The optional

consolidated reply brief is due within 21 days after service of the consolidated

answering brief.

       If necessary to serve the objectives identified in appellant’s motion to file

divided briefs, the answering and reply briefs may also be divided into one brief to

be filed publicly and a second brief to be filed under seal with a notice of sealing.
